                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                  VALDOSTA DIVISION

CHRISTOPHER A. LYNCH,                          :
                                               :
                       Plaintiff,              :
                                               :
               VS.                             :
                                               :       7 : 14-CV-24 (HL)
SHARON LEWIS, M.D., and                        :
BILLY NICHOLS, M.D.,                           :
                                               :
                       Defendants.             :



                       ORDER and RECOMMENDATION

       Plaintiff has filed two (2) motions seeking injunctive or declaratory relief (Docs. 5, 19), as

well as a Motion to Amend her Complaint (Doc. 18). Plaintiff filed this action in 2014, asserting

that she was being denied medical treatment for her transgender condition. (Doc. 1).

Motions for injunctive relief (Docs. 5, 19)

       Plaintiff asserts that she is a transsexual who is in need of treatment, especially hormone

therapy, for her Gender Identity Disorder (“GID”). (Doc. 1). Plaintiff alleges that she is suffering

from symptoms including pain, nausea, dizziness, depression, and preoccupations with suicide and

self-mutilation as a result of the discontinuation of her hormone therapy, which she had

undertaken without the supervision of a physician. (Doc. 5). In her first motion for injunctive

relief, the Plaintiff seeks the provision of regular psychotherapy and a specific hormone plan, or an

evaluation by a psychiatrist and physician from outside the prison, with direction to the

Defendants to follow said physicians’ treatment plan. Id. In her second motion for injunctive

relief, the Plaintiff seeks a Court Order directing Dr. Heather Harrison of Valdosta State Prison to

execute an affidavit regarding the appropriate treatment for Plaintiff, and restraining the
Defendants from transferring the Plaintiff to another prison facility without certain criteria being

satisfied regarding Plaintiff’s safety and housing arrangements. (Doc. 19).

        In order to obtain injunctive or declaratory relief, the Plaintiff must prove that: (1) there is

a substantial likelihood that she will prevail on the merits; (2) she will suffer irreparable injury

unless the injunction issues; (3) the threatened injury to the movant outweighs whatever damage

the proposed injunction may cause the opposing party; and (4) the injunction, if issued, would not

be adverse to the public interest. Zardui-Quintana v. Richard, 768 F.2d 1213, 1216 (11th Cir.

1985); Snook v. Trust Co. of Georgia Bank of Savannah, N.A., 909 F.2d 480, 483 (11th Cir.

1990). Injunctive relief will not issue unless the conduct at issue is imminent and no other relief

or compensation is available. Cunningham v. Adams, 808 F.2d 815, 821 (11th Cir. 1987).

      A review of the Plaintiff's motions reveals an inadequate basis for the issuance of an

injunctive order. In response to the Plaintiff’s first motion for injunctive relief, the Defendants

have submitted the affidavit of Dr. Heather Harrison, the Clinical Director at Valdosta State

Prison. (Doc. 32-1). Dr. Harrison, a licensed psychologist, states that she is familiar with the

Plaintiff and has “provided him with psychotherapy for his mental health issues, including gender

identity disorder, on several occasions at VSP.” Id. at ¶ 5. According to Dr. Harrison, “since his

arrival at VSP, inmate Lynch has received mental health counseling and services on a frequent and

regular basis from various mental health counselors and professionals for his mental health issues,

including his gender identity issues. “ Id. at ¶ 6. Dr. Harrison details her treatment of the

Plaintiff, including psychotherapy for Plaintiff’s transsexualism, and Plaintiff’s continued denials of

any urges to mutilate herself. Id. at ¶¶ 8-14. Dr. Harrison states that

                Inmate Lynch has not complained to me of severe physical
                symptoms associated with his gender identity disorder or the mental
                health care he is receiving for it, nor have I observed him in

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                any significant physical discomfort. . . Inmate Lynch has not
                expressed to me, nor do his mental health records reflect, an intent
                to inflict serious harm upon himself. . . In my opinion, Inmate
                Lynch is receiving adequate and proper mental health care at VSP
                for his gender identity disorder and is not in danger of deteriorating
                health or of irreparable harm as a result of the mental health
                treatment he is receiving.

      Id. at ¶¶ 15-17.


      Plaintiff has not established that she is entitled to injunctive relief in regard to her requests,

i.e., that there is a substantial likelihood of success on the merits or resulting irreparable harm, or

that no other relief is available to address her alleged injuries. As established by Dr. Harrison’s

affidavit testimony, the Plaintiff is receiving mental health treatment and is routinely monitored

regarding her mental status. Dr. Harrison’s testimony establishes that the Plaintiff is not in danger

of irreparable harm as a result of her condition or treatment, and that the Plaintiff admits she is not

motivated to inflict injury on herself. Although the Plaintiff asserts that Dr. Harrison has told

Plaintiff that she, Dr. Harrison, believes Plaintiff needs additional treatment, Dr. Harrison’s

affidavit reflects that she refused to sign an affidavit presented by the Plaintiff for her signature.

(Docs. 37, 38; Doc. 32-1, ¶ 13). There is no evidence before the Court beyond Plaintiff’s

assertion in regard to any belief held by Dr. Harrison regarding the need for different or additional

treatment.

      Additionally, the Court notes that the Plaintiff has not established her entitlement to

injunctive relief in the form of an order directing Dr. Harrison to sign an affidavit, or prescribing

the circumstances of any transfer of the Plaintiff to another prison facility. The Plaintiff has not

established any basis of possible resulting irreparable harm in regard to these requests.

        Accordingly, it is the recommendation of the undersigned that Plaintiff’s motions for



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injunctive or declaratory relief be DENIED. Pursuant to 28 U.S.C. § 636(b)(1), the parties may

file written objections to the recommendations issued herein with the Honorable Hugh Lawson,

United States District Judge, WITHIN FOURTEEN (14) DAYS after being served with a copy of

this Recommendation.

Motion to Amend (Doc. 18)

      In her Motion to Amend, the Plaintiff seeks to add a claim that the Defendants have acted

with deliberate indifference to her serious medical needs by “conspiring to deny even an

evaluation to the Plaintiff inacord [sic] with policy which is based upon professional standards of

care published by the World Professional Association for Transgender Health, and thereby having

provided grossly inadequate care which has prolonged the suffering of the Plaintiff.” (Doc. 18).

Plaintiff executed this proposed amendment on April 8, 2014, which was within 21 days of the

service of her original Complaint on March 27, 2014 (Doc. 15).

      Pursuant to Rule 15(a) of the Federal Rules of Civil Procedure,

               1. Amending as a Matter of Course. A party may amend its
               pleading once as a matter of course within:
               (A) 21 days after serving it, or
               (B) If the pleading is one to which a responsive pleading is
               required, 21 days after service of a responsive pleading or 21 days
               after service of a motion under rule 12(b), (e), or (f), whichever is
               earlier.


As such, the Plaintiff filed her Motion for Leave to Amend within the time period for amending as

of right under Rule 15(a)(1), and the Court has no discretion to deny the Plaintiff’s proposed

amendment. Troville v. Venz, 303 F.3d 1256, 1260 (11th Cir. 2002); Jemison v. Wise, 2010 WL

2929692, p.3 (11th Cir. July 28, 2010). Thus, Plaintiff’s Motion for Leave to Amend is

GRANTED, the Motion for Leave to Amend is deemed to be the Amended Complaint, and the



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Complaint is deemed amended as of the date the Motion for Leave to Amend was filed. To the

extent that Plaintiff adds new claims in her Amended Complaint, the Defendants shall have 21

days from the date of this Order to file any desired supplement to their pending Motion to

Dismiss to address Plaintiff’s Amended Complaint.

       SO ORDERED and RECOMMENDED, this 6th day of June, 2014.



                                                    s/ THOMAS Q. LANGSTAFF

                                                    UNITED STATES MAGISTRATE JUDGE




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